                               Case 22-11468-elf                       Doc 1                  Filed 06/06/22 Entered 06/06/22 16:25:05                                                              Desc Main
                                                                                               Document     Page 1 of 8


                 Fill in this information to identify your case:

                     United States Bankruptcy Coun for the:
                                                                                                                                               l
                                     Dlstn’ét of

                     Case number (Ifknown):               *
                                                                                              Chapter you are ﬁling under:
                                                                                              Cl Chapter7
                                                                                              Cl Chapter 11
                                                                                                                                                                                                            L,’ 2
                                                                                              Cl Chapter 12                                                                                                       _
            ,



                                                                                              D Chapter 13                                                                                  D   Check if this is‘"an
            1                                                                                                                                 J                                                 amended ﬁling


                Official Form 101
                Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                                               02/20

                The bankruptcy forms use you and Debtor1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
                joint case—and  In jolnt cases, these forms use you to ask for Information from both debtors. For example, If a form asks, “Do you own a car,"
                the an‘swer would be yes If elther debtor owns a car. When lnfonnatlon ls needed about the spouses separately, the form uges Debtor 1 and
                Debtor2 to distinguish between them. In Joint cases, one of the spouses must report information as Debtdr 1 and the other as Debtor 2. The
                same person must be Debtor 1 In all of the forms.
                Be as complete and accurate as possible. If two married people are                        ﬁling together, both are equally responsible for supplying correct
                lnfqrmatlon. If more space ls needed. attach                  a     separate sheet to this form. On the top of any additional pages. write your name and case number
                (if known). Answer every question.

                                 Identify Yourself
                                                              VAjb'put   Debtor 1:             7
                                                                                                                                                           About Debtorrz (Sbbus‘e only [H E Jﬁint 9559):
                          Your full name
                1.

                                                                                         ‘    <./
                      ,
                          wne               t
                                              '
                            't th ename th alsonyour
                          govemment-lssued picture
                          Identiﬁcation (for example.
                                                              ‘3 MWQM‘ M10117
                                                              H '5‘ name
                                                                                          ,




                                                                                                       I
                                                                                                                    AW                                     First name

                          your drivers license or                                                                                                                                                      ,


                                                              me
                                                                                      M[5
                                              ‘
                          passport).                                   name                                                                                Middle name

                          Bring your picture                   (M109:
                          identiﬁcation to your meeting       Last   "me                                                                                   Last name
                          with the trustee.                                                                                                                                                                                            ‘




                                                              Sufﬁx    (an   Jrl,   11,111)                                                                Sufﬁx (Sn. Jr., n, M)        v

                                                                                                                                                                                                                                   3




                2.        All other names you
        ,
                          have used In the last     8         First name                                                                                   First name
        ‘
                          years
                          Include your married or             Middle name                                                                                  Middle name
                          maiden names.
                                                              Last name                                                                                    Last name


                                                                                                                                                                                                                               1




    ;
                                                              First name                                                                                   First name


                                                              Middle name                                                                                  Middle name                                                         g

                                                                                                                                                                                                                                   ‘




    J




    1



    ‘
                                                              Last name                                                                                    Last name




                                                                                                                         ,,,_.'v:¢4vl«~rmvz        .   H              M .      51:74                                           4




    ‘3. Only the last4 digits of
        your Social Security
                                                              xxx        ‘   xx _         Q, /——                @
                                                                                                                          ——                               XXX            "   XX     " ——   — — ——
        number or federal                                     OR                                                                                           OR
‘




f
9
        Individual Taxpayer
        Identiﬁcation number
                      (ITIN)
                                                              9   XX     ‘   XX      ‘—_ __                     __...    __                                9   XX         —
                                                                                                                                                                              XX     ‘_ _ _ __
                                                                                       Nam“        gum—r,   W   ,   *f       '   '   ,ﬁﬁ.wwnnz::mmr"             ._   .        A»:



                Ofﬁcial Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                                      page   1
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                AW“; WP Afﬁgm
            ’
                !


Debtor1                                                                                                           Case number (if known)
                    Flvst Name   Mlddfe Name                        ast Name




                                                    About Debtor 1:                                                     About Debtor           2   (Spouse Only in     a   Joint Case):

4.     Any business names
       and Employer                                 D      l   have not used any business names or    Ele.              D       I   have not used any business names or EINs.
       Identification Numbers
       (EIN) you have used in                   1134ch c: m1¢?wa«:swe, mi:
       the last 8 years                             Business name                                L
                                                                                                                        Business name

       Include trade names and
       doing business as names
                                                    Business name                                                       Business name



                                                    it; £21612?
                                                    EIN                                                                 ETN"

                                                    ETE—                                                                ETA?"—




5.     Where you live                                                                                                    If Debtor      2   lives at   a   different address:


                                                Ofﬂf (
                                                    Number
                                                                    AME/1c hm
                                                                      Street       Q
                                                                                           «54w                          Number             Street




                                           ﬁhmwpm M Ci‘y                       ‘       I     State
                                                                                                     {95;
                                                                                                       ZIP Code          City
                                                                                                                                                               ,



                                                                                                                                                                        State        2”: Code

                                          /?¢€7LAIX€LP#§A
                                                    County                                                               County


                                                    If your mailing address is different from the one                   If Debtor 2’s mailing address is different from
                                                    above, ﬁll it in here. Note that the court wﬂl send                 yours, fill it in here. Note that the court will send
                                                    any notices to you at this mailing address,                          any notices to this mailing address.



                                                    Number            Street                                             Number             Street



                                                    PO. Box                                                              PO. Box



                                                    City                                     State     ZIP Code         City                                           Staie         Z!P Code




6.     Why you are choosing                         Chgck one:                                                          Check one:
                                                     x"
       this district to file for
       bankruptcy                              ﬁOver the last 180 days before ﬁling this petition,
                                               ‘1
                                                                                                                        C] Over the last 180 days before ﬁling this petition,
                                                           Ihave lived in this district longer than in any                  have lived in this district longerthan in any
                                                                                                                                I


                                                           other district.                                                 other district,

                                                    [3     Ihave another reason. Explain.                               C]      lhave another reason. Explain.
                                                           (See 28 U‘SAC. § 1408‘)                                              (See 28 USC. § 1408.)




     Ofﬁcial Form 101                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
m
 Debtor1
            Case 22-11468-elf



                     kWh/M
                 Firs! Nam:
                                    /
                              Mldcle Nama
                                            K
                                                     Doc 1



                                                W’Ad—A’MS
                                                     Kr


                Tell the Court About Your Bankruptcy Case
                                                          Last Name
                                                                      Filed 06/06/22 Entered 06/06/22 16:25:05
                                                                       Document     Page 3 of 8


                                                                                                      Case number   (ifknawn)
                                                                                                                                                  Desc Main




77.    The chapter of the                   Check one. (For a brief descrlption of each, see Notice Required by 11 U. S. C. § 342(b) for Individuals Filing
       Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box


       are choosing to ﬁle
        under                               Cl Chapter 7
                                            CI Chapter         11

                                            CI Chapter 12

                                                 Chapter 13


        How you will pay the fee            CI I will pay the entire fee when I ﬁle my petition. Please check with the clerk's ofﬁce in your
                                                local court for more details about how you may pay. Typicallyhif you are paying the fee
                                                yourself, you may pay with cash, cashiel‘s check, or money orderA If your attorney is
                                                submitting your payment on your behalf. your attorney may pay with a credit card or check
                                                                                                                                '

                                               with a pre-printed address.

                                                 I need to pay the fee in installments. If you choose this option. sign and attach the
                                                 Application for Individuals to Pay The Filing Fee in Installments (Ofﬁcial Form 103A).

                                            CI   I request that my fee, be waived (You may request this option only if you are ﬁling for Chapter 7.
                                                 By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                 less than 150% of the ofﬁcial poverty line that applies to your family size and you are unable to
                                                 pay the fee in installments). If you choose this option, you must ﬁll out the Application to Have the
                                                 Chapter 7 Filing Fee Waived (Ofﬁcial Form 1038) and ﬁle it with your petition.


        Have you ﬁled for               p/No
        bankruptcy within the
        last 8 years?                       Cl Yes.       District                             When                       Case number
                                                                                                      MM/ DD/YYYY
                                                                                           4




                                                          District                             When                       Case number
                                                                                                      MMI DD/YYYY
                                                          District                             When                       Case number
                                                                                                      MM/DD/YYYY



 10.    Are any bankruptcy
        cases pending or being
        filed by a spouse who is                 Yes.     Debtor                                                          Relationship to you
        not ﬁling this case with                          District                             When                       Case number, if known
        you, or by a business                                                                         MM   l DD IYYYY
        partner, or by an
        afﬁliate?
                                                          Debtor                                                          Reiationshlp to you

                                                          District                             When                       Case number, if known
                                                                                                      MM / DD/ YYYY




 11.   Do you rent your                     Ja/No.        Go to line 12.
       residence?                           D    Yes.     Has your landlord obtained an eviction judgment against you?

                                                          Cl No Go to line 12.
                                                          Cl Yes. Fill out Initial Statement About an Eviction JudgmentAgainst You (Form 101A) and ﬁle it as
                                                             part of this bankruptcy petition.




      Ofﬁcial Form   101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
     Debtor      1
                      Case 22-11468-elf



                       AWL“ /t/ \@i
                         First Name




“Report About Any Businesses You Own
                                            .
                                                /
                                           Mldd‘e Name
                                                              Doc 1



                                                              I
                                                                  I D (L
                                                                         I,
                                                                       Last Name
                                                                                   *
                                                                                       Filed 06/06/22 Entered 06/06/22 16:25:05


                                                                                       )
                                                                                        Document


                                                                                                5
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                                                                                           as a Sole Proprietor
                                                                                                                               Case number   (ifknown)
                                                                                                                                                                      Desc Main




     12.       Are you a sole proprietor>dNQ Go to pa“ 4_
               of any full- or part-time
               buslness?                   es. Name and location of business

               A sole proprietorship is a
               business you operate as an
                                                                   Name of business, if any
               individual. and is not a
               separate legal entity such as
               a corporation, partnership. or
                                                                   Number              Street
               LLC.
               If you have more than one
               sole proprietorship, use a
               separate sheet and attach it
               to this petition.
                                                                        City                                                          State              ZIP Code


                                                                   Check the approp/iate box to describe your business:
                                                                   D       Health Care Business (as deﬁned in        11     U.S.C.§ 101(27A))
                                                                   CI Sin‘gle Asset Real Estate (as deﬁned in 11               USS.   §   101(51B))
                                                                   E] Stockbroker (as deﬁned           in 11 U.S.C. § 101(53A))

                                                                   U       Commodity Broker (as deﬁned in      11    U.S‘C.§ 101(6))
                                                                   U       None of the above


 ‘
     13.       Are you ﬁling under                       If you are ﬁling under Chapter 11, the coun‘ must know whether you are a small business debtor so that it
               Chapter 11 of the                         can set appropriate deadlines If you indicate that you are a small business debtor, you must attach your
               Bankruptcy Code and                       most recent balance sheet, statement of operaﬁons. cash-ﬂow statement, and federal Income tax return or if
                                                         any fthese documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
           _
               are you a small business
               debtoﬂ
               For a deﬁnition of small
                                                  m:     E] No.
                                                                   I    am not ﬂllng under Chapter 11.

                                                                   I am ﬁling under Chapter 11, but I am NOT a small business debtor according to the deﬂnitlon in
               business debtor, see                                                                                                                             '
                                                                   the Bankruptcy Code.
               11 U.S.C.§ 101(51D).
                                                         CI Yes. I am ﬁling under Chapter 11, I am a small business debtor according to the deﬁnition                  In   the Bankruptcy
                                                                 Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                                         Cl Yes.   I am ﬁling under Ohapter11. I am a small business debtor according to the deﬁnition in the




m
5;




                                                                   Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.
                       Report         if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

     14.       Do you own or have any
               property that poses or Is
                                                    >%D
               alleged to pose a threat                  CI Yes. What is the hazard?
               of Imminent and
               identiﬁable hazard to
               public health or safety?
               Or do you own any
               property that needs                                      If immediate attention is needed. why       Is It   needed?
               immediate attention?
               For example, do you own
               perishable goods, or livestock
               that must be fed, or a building
               that needs urgent repairs?                         5.1

                                                                        Where is the property?
                                                                                                    Number            Street




                                                                                                    City                                                     State   ZIP Code



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Dehm1         ‘\k&}&1313441>L£>ka K‘3d%{CW3~‘E&CLA1IE:                                                     Case number     Ufknawn)
                First Name     Mthe Name              Last Name




m
15.
              Explain Your Efforts to Receive a Briefing About Credit Counseling


      Tell the court whether               Ahoy: Debtor 1:                                                      About Debtor 2 (Sppuse Onlym             a Jointycja'sg’g):

      you have received a                                                          ‘

      briefing about credit                You must                                                              You must check one:
                                                      cgscaszone:
      counseling.

      The law requires that you
                                        ﬁt           i e     briefing from an approved credit
                                                ouhseling agency within the 180 days before
                                              filed this bankruptcy petition and I received a
                                                                                                       I
                                                                                                                 D    I received a briefing from an approved credit
                                                                                                                      counseling agency within the 180 days before
                                                                                                                      filed this bankruptcy petition, and I received a
                                                                                                                                                                                   I


      receive a brieﬁng about credit          certificate of completion.                                              certificate of completion.
      counseling before you ﬁle for
                                              Attach a copy of the certiﬁcate and the payment                         Attach a copy of the certiﬁcate and the payment
      bankruptcy. You must
                                              plan. if any, that you developed with the agency.                       plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
                                              Ireceived a briefing from an approved credit                       C]   I received a briefing from an approved credit
      cannot do so. you are not
                                              counseling agency within the 180 days before I                          counseling agency within the 180 days before I
      eligible to ﬁle.
                                              ﬁled this bankruptcy petition, but I do not have a                      filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                              certificate of completion.
      If you ﬁle anyway, the court
                                              Within 14 days after you ﬁle this bankruptcy petition,                  Wthin 14 days after youtﬁle this bankruptcy petition.
      can dismiss your case. you                                                                                                                                                           ‘

                                              you MUST ﬁle a copy of the certiﬁcate and payment                       you MUST ﬁle a copy of the certiﬁcate and payment
      wiIl lose whatever ﬁling fee
                                              plan. if any;                                                           plan, if any.                                                        ,


      you paid, and your creditors
      can begin collection activities      E] [certify that I asked for credit counseling                        C]   Icertify that I asked for credit counseling
      agaln.                                  services from an approved agency, but was                               services from an approved agency, but was
                                              unable to obtain these services during the 7                            unable to obtain those services during the 7
                                              days afterl made my request, and exigent                                days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                           circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                     of the requirement.
                                              To ask for a 30—day temporary waiver of the                             To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                         requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the brieﬁng, why                        what efforts you made to obtain the brieﬁng. why
                                              you were unable to obtain it before you ﬁled for                        you were unable to obtain it before you ﬁled for
                                              bankruptcy, and what exigent circumstances                              bankruptcy, and what exigent circumstances
                                              required you to ﬁle this case.                                          required you to ﬁle this case.

                                              Your case may be dismissed if the court is                              Your case may be dismissed if the court ls
                                              dissatisﬁed with your reasons for not receiving a                       dissatisﬁed with your reasons for not receiving a
                                              brieﬁng before you ﬁled for bankruptcy.                                 brieﬁng before you ﬁled for bankruptcy
                                              If the count is satisﬁed with your reasons, you must                    Ifthe coud is satisﬁed with your reasons. you must
                                              still receive a brieﬁng within 30 days after you ﬁle.                   still receive a brieﬁng within 30 days after you ﬁle.
                                              You must ﬁle a certiﬁcate from the approved                             You must ﬁle a certiﬁcate from the approved
                                              agency, along with a copy of the payment plan you                       agency. along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                       developed, if any. If you do not do so. your case
                                              may be dismissed.                                                       may be dismissed.
                                              Any extension of the 30-day deadline is granted                         Any extension of the 30- day deadline IS granted
                                              only for cause and is limited to a maximum of 15                        only for cause and IS limited to a maximum of 15
                                              days.                                                                       days‘

                                           E] lam not required to receive a briefing about                       C]   I    am not required to receive a briefing about
                                              credit counseling because of:                                               credit counseling because of:

                                              Cl Incapacity.        l have a mental illness or a mental
                                                                                                ‘
                                                                                                                          C] Incapacity.    I have a mental illness or a manta!        7




                                                                                                                                                                                       ’

                                                                    deﬁciency that makes me                                                 deﬁciency that makes me
                                                                    incapable of realizing or making                                        incapable of realizing or making
                                                                    rational decisions about ﬁnances.                                       rational decisions about ﬁnances.
                                              CI Disability.        My physical disability causes me                      C] Disability.    My physical disabiiity causes me
                                                                    to be unable to participate in a                                        to be unable to participate in a
                                                                    brieﬁng in person, by phone, or                                         brieﬁng in person, by phone, or
                                                                    through the internet, even after]                                       through the internet, even after   I


                                                                    reasonably tried to do 50‘                                              reasonably tried to do sq.

                                              Cl Active duty.       Iam currently on active military                      Cl Active duty.   Iam currentiy on active military
                                                                    duty in a military combat zone.                                         duty in a military combat zone

                                              If you believe you are not required to receive a                        If you believe you are not required to receive a
                                              brieﬁng about credit counseling‘ you must ﬁle a                         brieﬁng about credit counseling you must We a
                                              motion for waiver of credit counseling with the court.                  motion for waiver of credit counseling with the court




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                  wwww oéwéim
                   First Name    Middle Name                        Last   Name/
                                                                                                                          Case number   (tlknown)




m   16.
                 Answer These Questions for Reporting Purposes

          What kind of debts do
                                                   16a.   Are your debts primarily consumer debts? Consumer debts are deﬁned in 11 U.S.C. § 101(8)
                                                          as “incurred by an individual primarily for a personal, family, or household purpose."
          you have?
                                                          CI    0. Go to line 16b.
                                                               Yes. Go to line 17.
                                                   16b.   Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                          money for a business or investment or through the operation of the business or investment.

                                                        ﬁNo. Go to ﬁne 16c.
                                                          C] Yes. Go t0 line               17.

                                                   160. State the type of debts you owe that are not consumer debts or business debts.




          Are you filing under
    17.
          Chapter 7?                       ﬂu.                  I       am not ﬁling under Chapter 7. Go to line 18.

          Do you estimate that after               [I Yes‘      I am ﬁling under Chapter 7. Do you estimate that after any exempt prcperty is excluded and


          any exempt property is                                administrative expenses are paid that funds win be available to distribute to unsecured creditors?
          excluded and                                          E] No
          administrative expenses                                   -




          are paid that funds will be                           D          Yes
          available for distribution
          to unsecured creditors?
«


    18.   How many creditors do                ISL-49                                                  Cl 1,000-5,000                               Cl 25,001-50,000
          YOUestlmate that YOU                     CI 50-99                                            D 5901-10000                                 D    50301—100300
          0W9?                                     Cl 100-199                                          D 1000145900                                 C] More than 100,000
                                                   D    200-999

    19.   How much do you                      Mo—Momo                                                 CI $1,000,001-$10 million                    D    s500.ooo,oo1-$1 bimon
          estimate your assets to                  Cl $50,001-5100.000                                 Cl $10,000.001-55o million                   Cl $1,000,000.001-s1o billion
          be   worth?                              Cl $100,001-$500,ooo                                E] $50,000,001—$100~million                  El $1o,ooo,ooo,oo1—$5o bimon
                                                   Cl $500,001-51 million                              C] $100,000,001-$5oo mmion                   Cl More than $50 billion

    20.   How much do you                      E] 340350.000                                           E]   $1.ooo,oo1-$1o mimon                    D    $500.000,001-$1 billion
          estimate your liabilities            Cl $50,001-$1oo,ooo                                     Cl   $1o,ooo,oo1~$5o million                 E] $1,ooo,ooo,oo1-s1o billion
          to be?                                  macaw-$500,000                                       Cl   $5o.aoo.oo1-s1oo milh’on                CI $1o,ooo,ooo,oo1-$5o billion
                                               Cl $500,001—s1 million                                  C]   $100,000,001~$500 million               CI More than $50 billion
    Part 7-      Sign Below

                                               I have examined this petition. and I declare under penalty of perjury that the information provided is true and
:Foryou                                        correct.
                                               If have chosen to ﬁle under Chapter 7, I am aware that may proceed, if eligible. under Chapter 7. 11,12. or 13
                                                    I                                                                      I


                                               of title 11, United States Code i understand the relief available under each chapter, and I choose to proceed
                                               under Chapter 7.
                                               If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me ﬁll out
                                               this document, I have obtained and read the notice required by 11 U.SAC. § 342(b).

                                               I    request relief in accordance with the chapter of title 11, United States Code, speciﬁed in this petition.
                                                understa’nd making a false statement, concealing property, or obtaining money or property by fraud in connection


                                                             §w
                                               |


                                               with      kruptcy case can result in ﬁnes up to $250,000, or imprisonment for up to 20 years, or both.
                                               MUS                                          64Md3

                                                            [3W MNKai/'4
                                                                                     71.
                                                          :1?
                                                                                                                               x
                                                    /
     Ofﬁcial Form 101
                                                          gnatmi/e


                                                        ercuted
                                                                           of Debtor

                                                                           on
                                                                                       1
                                                                                                 ’1~



                                                                                 6%;{éjl35/305199”
                                                                                                  /
                                                                    Voluntary Petition for individuals Filing for Bankruptcy
                                                                                                                                   Executed on      W
                                                                                                                                   Signature of Debtor 2


                                                                                                                                                    MM   l   DD   /YYYY


                                                                                                                                                                          page 6
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Debtor1
          mLfhml/C‘VLL
             First Name
                          »




                              Mldd1: Name
                                             w         L
                                                           MiGWQ/FXCZMS
                                                           Last Mamie
                                                                          Document     Page 7 of 8


                                                                                                       Case number   (ifknuwn)




                                            I, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
For your attorney, if you are               to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code. and have explained the relief
represented by one                          available under'each chapter for which the person is eligible. I also certify that I have deiivered to the debtor(s)
                                            the notice required by 11 U.S.C. § 342(b) and, in a casein which § 707(b)(4)(D) applies, certify thatl have no
If you are “Gt represented                  knowledge after an inquiry that the information in the schedules ﬂied with the petition is incorrect.
by an attorney, you do not
need to ﬁle this page.
                                            x                                                                   Date
                                                Signature of Attorney for Debtor                                                 MM    /    DD IYYYY




                                                Printed name



                                                Firm name



                                                Number          Street




                                                City                                                           State             ZIP Code




                                                Contact phone                                                  Email address




                                                                           '

                                                Bar number                                                     State




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Debtor   1   W Firsk Name
                            LCM):      \.
                             Mlddie Name
                                            Ml{WV%&A1W1§   Last Namé
                                                                                                          Case number   (Efknawn)




For you if YOUE‘I‘E filing this                   The law allows you, as an individual, to represent yourself in bankruptcy Court, but you
bankruptcy WIthOUt an                             should understand that many people find it extremely difﬁcult to represent
attorney                                          themselves successfully. Because bankruptcy has long-term financial and legal
                                                  consequences, you are strongly urged to hire a qualified attorney.
If you are represented by_
an attorney, you do not                           To be successful, you must correctly ﬁle and handle your bankruptcy case. The rules are very
need to ﬁle this page.                            technical. and a mistake or inaction may affect your rights. For example, your case may be
                                                  dismissed because you did not ﬁle a reciuired document, pay a fee on time, attend a meeting or
                                                  hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                                  ﬁrm if your case is selected for audit. If that happens, you could lose your right to ﬁle another
                                                  case, or you may lose protections, including the benefit of the automatic stay.

                                                  You must list all your property and debts in the schedules that you are required to ﬁle with the
                                                  court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                                  in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                                  property or properly claim it as exempt. you may not be able to keep the property. The judge can
                                                  also deny you a discharge of a" your debts if you do something dishonest in your bankruptcy
                                                  case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                                  cases ére randomly audited to determine if debtors have been accurate, truthful, and complete.
                                                  Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                                   If you decide to ﬁle without an attorney. the court expects you to follow the rules as if you had
                                                   hired an attorney. The court wil! not treat you differently because you are ﬁling for yourself. To be
                                                   successful, you must be famiiiar with the United States Bankruptcy Code, the Federal Rules of
                                                   Bankruptcy Procedure. and the tocal rules of the court in which your case is filed, You must aiso
                                                                                                                                                                 ‘

                                                   be familiar with any state exemption laws that apply.

                                                   Are you aware that ﬁling for bankruptcy is     a   serious action with iong-term ﬁnancial and legal
                                                   consequences?
                                                   [30
                                            $6;
                                                   Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                                   inaccurate or incomplete, you could be fined or imprisoned?
                                                   E]      0
                                                        Yes

                                            gym: pay or agree to pay someone who is not an attorney to help you ﬁll out your bankruptcy forms?
                                                          No
                                                   C] Yes Name of Person
                                                               Attach Bankruptcy Petition Preparers Notice Declaration and Signature (Ofﬁcial Form 119).



                                                   By signing here, I acknowledge that l understand the risks involved in ﬁling without an attorney.         I


                                                   have read and understood this notice and I am aware that ﬁling a bankruptcy case without an
                                                   attvﬁWJosemy                      rights or property if I do not properly handte the case



                                            x/JJWWW
                                                  itgnatupé     of Debtor    1                                     Signature of Debtor 2

                                                  ‘ﬁate                ﬁg?       ﬂéf/Qﬂﬁ‘                          Date
                                             [If                       MM / DD    /YYYY                                             MM /   DD   IYYYY
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 Ofﬁcial Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                     page 8
